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 8
 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
12   SHANNON SENSIBAUGH, individually               Case No.: 2:20-CV-01068-FLA PVC
     and on behalf of all other similarly
13   situated,
                                                    JOINT STATUS REPORT
14                      Plaintiff,
           vs.
15                                                  Judge: Hon. Fernando L. Aenlle-Rocha
     EF EDUCATION FIRST, INC.,                      Crtrm:
16
                        Defendant.                  Complaint Filed: February 2, 2020
17                                                  Trial Date:      None Set
18
19         On April 1, 2020 the Supreme Court issued its decision in Facebook, Inc. v.
20   Duguid, No. 19-511. A true and correct copy of this decision is attached hereto as
21   Exhibit A. Pursuant to this Court’s Order dated July 14, 2020 (ECF No. 30), Plaintiff
22   Shannon Sensibaugh and Defendant EF Education First, Inc. (collectively the
23   “Parties”) hereby submit this Joint Status Report.
24         A.     Defendant’s Position
25         In a unanimous decision, the Supreme Court expressly overturned the Ninth
26   Circuit’s decision in Marks v. Crunch San Diego, LLC, by holding, “to qualify as an
27   ‘automatic telephone dialing system’ under the TCPA, a device must have the
28   capacity either to store a telephone number using a random or sequential number
                                                1
                                       JOINT STATUS REPORT
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 1   generator, or to produce a telephone number using a random or sequential number
 2   generator.” See Facebook v. Duguid, 592 U.S.                , 2021 WL 1215717, at *1 (2021).
 3   The Court continued to state that Facebook did not violate the TCPA because it did
 4   not use random or sequential number generation to store or produce Plaintiff’s
 5   number. Id., at *5 (“Congress’ definition of an autodialer requires that in all cases,
 6   whether storing or producing numbers to be called, the equipment in question must
 7   use a random or sequential number generator. This definition excludes equipment
 8   like   Facebook’s       login    notification    system,     which      does     not    use    such
 9   technology.”)(emphasis added). In short, a claim under 47 U.S.C. § 227(b)(1)(A)(iii)
10   fails where the sender does not actually use random or sequential number generation
11   to store or produce numbers to be dialed.
12          For example, in Facebook, Mr. Duguid sued for violations of the TCPA after
13   receiving a series of automated text messages on his cellphone from Facebook. Even
14   though Facebook “stored” and “dialed” Mr. Duguid’s number, it did not violate the
15   TCPA. Under these facts, there is no violation “because Facebook’s notification
16   system neither stores nor produces numbers ‘using a random or sequential number
17   generator,’ it is not an autodialer.” Facebook, 2021 WL 1215717, at *4.
18          Here, Defendant did not store or produce numbers using a random or
19   sequential number generator. In fact, Plaintiff submitted her contact information to
20   EF Institute for Cultural Exchange, Inc. (“EF”) directly. 1 On May 4, 2018, Plaintiff
21   manually entered her contact information on an EF lead form. After Plaintiff
22   submitted her name, e-mail address, and cell phone number, EF proceeded to text her.
23   For this reason, Plaintiff’s only claim against EF fails as a matter of law because it
24   did not store or produce Plaintiff’s number with a random or sequential generator.
25
     1
      Plaintiff named the wrong entity in this action. Education First, Inc. did not send any messages to
26   Plaintiff. Therefore, the written discovery served on Education First, Inc. in April 2020 was
     directed to the wrong party. In its February 27, 2020 Answer (Doc. 9), EF informed the Court and
27   Plaintiff that it is the improper defendant in this action. Then, on May 4, 2020, Defendant informed
     Plaintiff that EF Institute for Cultural Exchange, Inc. is the proper party in this case. If the case
28   continues, Defendant expects Plaintiff will file an amended complaint to name the proper entity.
                                                 2
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 1   See Facebook, 2021 WL 1215717, at *5 (“Congress’ definition of an autodialer
 2   requires that in all cases, whether storing or producing numbers to be called, the
 3   equipment in question must use a random or sequential number generator. This
 4   definition excludes equipment like Facebook’s login notification system, which does
 5   not use such technology.”)(emphasis added).
 6         Additionally, based on the pleadings, EF respectfully asks this Court to dismiss
 7   this action in its entirety. The operative Complaint contains no factual allegations
 8   concerning random or sequential number generation. Instead, without any supporting
 9   facts, Plaintiff alleges use of an ATDS because the “hardware and software used by
10   or on behalf of Defendant to make or initiate such messages have the capacity to
11   store, produce, and dial random or sequential numbers . . .” Complaint at ¶ 16. Such
12   conclusory allegations have been dismissed, with prejudice, by Courts interpreting
13   the TCPA under the standard adopted by the Supreme Court in Facebook. Suttles v.
14   Facebook, Inc., 461 F. Supp.3d 479, 487 (W.D. Tex. May 20, 2020) (“The facts as
15   described in Suttles's pleadings do not give rise to an inference that a device with
16   ‘random or sequential’ functionality was used, but rather a device that directly
17   targeted specific individuals . . . The court will, therefore, dismiss Suttles's second
18   claim with prejudice.”); Mosley v. General Revenue Corp., No. 1:20-cv-01012-JES,
19   2020 WL 4060767, at *2 (C.D. Ill. July 20, 2020) (“Plaintiff claims she does not need
20   to plausibly allege that GRC used a random or sequential number generator in her
21   case, but rather that GRC's machine had the capacity to do so. Doc. 12, at 6. The
22   Court rejects the inference that a claim is plausible because a plaintiff merely alleges
23   the dialer system has the capacity to randomly or sequentially generate numbers,
24   without any factual basis for such allegations.”).
25         If the Court is not inclined to dismiss the action sua sponte, EF will file a
26   motion for judgment on the pleadings based on these facts.
27         B.     Plaintiff’s Position:
28         The Supreme Court’s decision in Duguid does not eliminate any and all
                                             3
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 1   potential liability under the TCPA in the manner Defendant suggests. Rather, the
 2   Supreme Court was clear that “[t]o qualify as an ‘automatic telephone dialing
 3   system,’ a device must have the capacity either to store a telephone number using a
 4   random or sequential generator or to produce a telephone number using a random or
 5   sequential number generator.” Duguid, -- S. Ct. --, 2021 WL 1215717, at *1 (2021).
 6   Thus, there are dialer technologies which constitute an “automatic telephone dialing
 7   system” (“ATDS”) within the meaning of the TCPA, as decided by Duguid.
 8           It is premature to decide whether the system used by Defendant in this case
 9   qualifies as an ATDS. Indeed, Plaintiff has not received the benefit of any discovery,
10   let alone discovery on Defendant’s dialer systems. This is not due to Plaintiff’s lack
11   of diligence. Indeed, on April 24, 2020, Plaintiff served her first set of discovery
12   requests on Defendant. However, on May 7, 2020, before Defendant’s responses to
13   those discovery requests were due, the Court entered an Order staying the case (ECF
14   No. 27). That stay remained in place until the Supreme Court’s recent decision in
15   Duguid. Thus, now that the case has resumed, Plaintiff should be permitted to take
16   discovery to determine whether Defendant used an ATDS, as defined by Duguid.
17           In order to resume the case, Plaintiff proposes the following: (1) Plaintiff will
18   file a First Amended Complaint on or before April 23, 2021; and (2) Defendant will
19   respond to Plaintiff’s outstanding first set of discovery requests on or before May 7,
20   2021.
21   Dated: April 6, 2021                  Respectfully submitted,
22                                         MINTZ LEVIN COHN FERRIS GLOVSKY AND
                                           POPEO P.C.
23
                                           /S/ MATTHEW NOVIAN
24                                         By: Joshua Briones
                                                E. Crystal Lopez
25                                              Matthew Novian
26                                              Attorneys for Defendant
                                                EF EDUCATION FIRST, INC.
27
28
                                              4
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 1
 2   Dated: April 8, 2021            Bursor & Fisher, P.A
 3
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                                JOINT STATUS REPORT
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                 Exhibit A
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              (Slip Opinion)              OCTOBER TERM, 2020                                       1

                                                     Syllabus

                       NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                     being done in connection with this case, at the time the opinion is issued.
                     The syllabus constitutes no part of the opinion of the Court but has been
                     prepared by the Reporter of Decisions for the convenience of the reader.
                     See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


              SUPREME COURT OF THE UNITED STATES

                                                     Syllabus

                               FACEBOOK, INC. v. DUGUID ET AL.

              CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                                THE NINTH CIRCUIT

                   No. 19–511.      Argued December 8, 2020—Decided April 1, 2021
              The Telephone Consumer Protection Act of 1991 (TCPA) proscribes abu-
                sive telemarketing practices by, among other things, restricting cer-
                tain communications made with an “automatic telephone dialing sys-
                tem.” The TCPA defines such “autodialers” as equipment with the
                capacity both “to store or produce telephone numbers to be called, us-
                ing a random or sequential number generator,” and to dial those num-
                bers. 47 U. S. C. §227(a)(1). Petitioner Facebook, Inc., maintains a
                social media platform that, as a security feature, allows users to elect
                to receive text messages when someone attempts to log in to the user’s
                account from a new device or browser. Facebook sent such texts to
                Noah Duguid, alerting him to login activity on a Facebook account
                linked to his telephone number, but Duguid never created that account
                (or any account on Facebook). Duguid tried without success to stop the
                unwanted messages, and eventually brought a putative class action
                against Facebook. He alleged that Facebook violated the TCPA by
                maintaining a database that stored phone numbers and programming
                its equipment to send automated text messages. Facebook countered
                that the TCPA does not apply because the technology it used to text
                Duguid did not use a “random or sequential number generator.” The
                Ninth Circuit disagreed, holding that §227(a)(1) applies to a notifica-
                tion system like Facebook’s that has the capacity to dial automatically
                stored numbers.
              Held: To qualify as an “automatic telephone dialing system” under the
               TCPA, a device must have the capacity either to store a telephone
               number using a random or sequential number generator, or to produce
               a telephone number using a random or sequential number generator.
               Pp. 4–12.
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              2                      FACEBOOK, INC. v. DUGUID

                                                Syllabus

                     (a) This case turns on whether the clause “using a random or se-
                  quential number generator” in §227(a)(1)(A) modifies both of the two
                  verbs that precede it (“store” and “produce”), as Facebook contends, or
                  only the closest one (“produce”), as maintained by Duguid. The most
                  natural reading of the text and other aspects of §227(a)(1)(A) confirm
                  Facebook’s view. First, in an ordinary case, the “series-qualifier
                  canon” instructs that a modifier at the end of a series of nouns or verbs
                  applies to the entire series. Here, that canon indicates that the modi-
                  fying phrase “using a random or sequential number generator” quali-
                  fies both antecedent verbs, “store” and “produce.” Second, the modify-
                  ing phrase immediately follows a concise, integrated clause (“store or
                  produce telephone numbers to be called”), which uses the word “or” to
                  connect two verbs that share a common direct object (“telephone num-
                  bers to be called”). Given this structure, it would be odd to apply the
                  modifier to just one part of the cohesive clause. Third, the comma in
                  §227(a)(1)(A) separating the modifying phrase from the antecedents
                  suggests that the qualifier applies to all of the antecedents, instead of
                  just the nearest one. Pp. 4–6.
                     Duguid’s insistence that a limiting clause should ordinarily be read
                  as modifying only the phrase that it immediately follows (the so-called
                  “rule of the last antecedent”) does not help his cause for two reasons.
                  First, the Court has declined to apply that rule in the specific context
                  where, as here, the modifying clause appears after an integrated list.
                  Jama v. Immigration and Customs Enforcement, 543 U. S. 335, 344, n.
                  4. Second, the last antecedent before the clause at issue in
                  §227(a)(1)(A) is not “produce,” as Duguid argues, but rather “telephone
                  numbers to be called.” Pp. 6–7.
                     (b) The statutory context confirms that the TCPA’s autodialer defi-
                  nition excludes equipment that does not use a random or sequential
                  number generator. Congress found autodialer technology harmful be-
                  cause autodialers can dial emergency lines randomly or tie up all of
                  the sequentially numbered phone lines at a single entity. Facebook’s
                  interpretation of §227(a)(1)(A) better matches the scope of the TCPA
                  to these specific concerns. Duguid’s interpretation, on the other hand,
                  would encompass any equipment that stores and dials telephone num-
                  bers. Pp. 7–8.
                     (c) Duguid’s other counterarguments do not overcome the clear com-
                  mands of the statute’s text and broader context. First, he claims that
                  his interpretation best accords with the “sense” of the text. It would
                  make little sense however, to classify as autodialers all equipment
                  with the capacity to store and dial telephone numbers, including vir-
                  tually all modern cell phones. Second, Duguid invokes the “distribu-
                  tive canon,” which provides that a series of antecedents and conse-
                  quents should be distributed to one another based on how they most
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                                              Syllabus

                naturally relate in context. But that canon is less suited here because
                there is only one consequent to match to two antecedents, and in any
                event, the modifying phrase naturally relates to both antecedents.
                Third, Duguid broadly construes the TCPA’s privacy-protection goals.
                But despite Congress’ general concern about intrusive telemarketing
                practices, Congress ultimately chose a precise autodialer definition.
                Finally, Duguid argues that a random or sequential number generator
                is a “senescent technology,” i.e., one likely to become outdated quickly.
                That may or may not be the case, but either way, this Court cannot
                rewrite the TCPA to update it for modern technology. Congress’ cho-
                sen definition of an autodialer requires that the equipment in question
                must use a random or sequential number generator. That definition
                excludes equipment like Facebook’s login notification system, which
                does not use such technology. Pp. 8–11.
              926 F. 3d 1146, reversed and remanded.

                SOTOMAYOR, J., delivered the opinion of the Court, in which ROBERTS,
              C. J., and THOMAS, BREYER, KAGAN, GORSUCH, KAVANAUGH, and BAR-
              RETT, JJ., joined. ALITO, J., filed an opinion concurring in the judgment.
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                                             Opinion of the Court

                    NOTICE: This opinion is subject to formal revision before publication in the
                    preliminary print of the United States Reports. Readers are requested to
                    notify the Reporter of Decisions, Supreme Court of the United States, Wash-
                    ington, D. C. 20543, of any typographical or other formal errors, in order that
                    corrections may be made before the preliminary print goes to press.


               SUPREME COURT OF THE UNITED STATES
                                                   _________________

                                                    No. 19–511
                                                   _________________


                              FACEBOOK, INC., PETITIONER v.
                                  NOAH DUGUID, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE NINTH CIRCUIT
                                                  [April 1, 2021]

                  JUSTICE SOTOMAYOR delivered the opinion of the Court.
                  The Telephone Consumer Protection Act of 1991 (TCPA)
               proscribes abusive telemarketing practices by, among other
               things, imposing restrictions on making calls with an “au-
               tomatic telephone dialing system.” As defined by the
               TCPA, an “automatic telephone dialing system” is a piece of
               equipment with the capacity both “to store or produce tele-
               phone numbers to be called, using a random or sequential
               number generator,” and to dial those numbers. 47 U. S. C.
               §227(a)(1). The question before the Court is whether that
               definition encompasses equipment that can “store” and dial
               telephone numbers, even if the device does not “us[e] a ran-
               dom or sequential number generator.” It does not. To qual-
               ify as an “automatic telephone dialing system,” a device
               must have the capacity either to store a telephone number
               using a random or sequential generator or to produce a tel-
               ephone number using a random or sequential number gen-
               erator.
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               2                    FACEBOOK, INC. v. DUGUID

                                         Opinion of the Court

                                              I
                                             A
                  In 1991, Congress passed the TCPA to address “the pro-
               liferation of intrusive, nuisance calls” to consumers and
               businesses from telemarketers. §2, ¶¶1, 6, 105 Stat. 2394,
               note following 47 U. S. C. §227. Advances in automated
               technology made it feasible for companies to execute large-
               scale telemarketing campaigns at a fraction of the prior
               cost, dramatically increasing customer contacts. Infa-
               mously, the development of “robocall” technology allowed
               companies to make calls using artificial or prerecorded
               voices, obviating the need for live human callers altogether.
                  This case concerns “automatic telephone dialing systems”
               (hereinafter autodialers), which revolutionized telemarket-
               ing by allowing companies to dial random or sequential
               blocks of telephone numbers automatically. Congress
               found autodialer technology to be uniquely harmful. It
               threatened public safety by “seizing the telephone lines of
               public emergency services, dangerously preventing those
               lines from being utilized to receive calls from those needing
               emergency services.” H. R. Rep. No. 102–317, p. 24 (1991).
               Indeed, due to the sequential manner in which they could
               generate numbers, autodialers could simultaneously tie up
               all the lines of any business with sequentially numbered
               phone lines. Nor were individual consumers spared: Auto-
               dialers could reach cell phones, pagers, and unlisted num-
               bers, inconveniencing consumers and imposing unwanted
               fees.1 Ibid.
                  Against this technological backdrop, Congress made it
               unlawful to make certain calls “using any automatic tele-
               phone dialing system” to “emergency telephone line[s],” to

               ——————
                  1 At the time Congress enacted the TCPA, most cellular providers

               charged users not only for outgoing calls but also for incoming calls. See
               In re Rules and Regulations Implementing Telephone Consumer Protec-
               tion Act of 1991, 18 FCC Rcd. 14014, 14115 (2003).
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                                         Opinion of the Court

               “guest room[s] or patient room[s] of a hospital,” or “to any
               telephone number assigned to a paging service [or] cellular
               telephone service” without the “prior express consent of the
               called party.” 47 U. S. C. §227(b)(1)(A).2 The TCPA creates
               a private right of action for persons to sue to enjoin unlaw-
               ful uses of autodialers and to recover up to $1,500 per vio-
               lation or three times the plaintiffs’ actual monetary losses.
               §227(b)(3).
                                             B
                  Petitioner Facebook, Inc., maintains a social media plat-
               form with an optional security feature that sends users
               “login notification” text messages when an attempt is made
               to access their Facebook account from an unknown device
               or browser. If necessary, the user can then log into Face-
               book and take action to secure the account. To opt in to this
               service, the user must provide and verify a cell phone num-
               ber to which Facebook can send messages.
                  In 2014, respondent Noah Duguid received several login-
               notification text messages from Facebook, alerting him that
               someone had attempted to access the Facebook account as-
               sociated with his phone number from an unknown browser.
               But Duguid has never had a Facebook account and never
               gave Facebook his phone number.3 Unable to stop the no-
               tifications, Duguid brought a putative class action against
               Facebook. He alleged that Facebook violated the TCPA by
               maintaining a database that stored phone numbers and
               programming its equipment to send automated text mes-
               sages to those numbers each time the associated account
               was accessed by an unrecognized device or web browser.
               ——————
                 2 Neither party disputes that the TCPA’s prohibition also extends to

               sending unsolicited text messages. See Campbell-Ewald Co. v. Gomez,
               577 U. S. 153, 156 (2016). We therefore assume that it does without con-
               sidering or resolving that issue.
                 3 As Facebook explains, it is possible that Duguid was assigned a recy-

               cled cell phone number that previously belonged to a Facebook user who
               opted to receive login notifications.
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               4                    FACEBOOK, INC. v. DUGUID

                                         Opinion of the Court

                  Facebook moved to dismiss the suit, arguing primarily
               that Duguid failed to allege that Facebook used an auto-
               dialer because he did not claim Facebook sent text mes-
               sages to numbers that were randomly or sequentially gen-
               erated. Rather, Facebook argued, Duguid alleged that
               Facebook sent targeted, individualized texts to numbers
               linked to specific accounts. The U. S. District Court for the
               Northern District of California agreed and dismissed
               Duguid’s amended complaint with prejudice. 2017 WL
               635117, *4–*5 (Feb. 16, 2017).
                  The United States Court of Appeals for the Ninth Circuit
               reversed. As relevant here, the Ninth Circuit held that
               Duguid had stated a claim under the TCPA by alleging that
               Facebook’s notification system automatically dialed stored
               numbers. An autodialer, the Court of Appeals held, need
               not be able to use a random or sequential generator to store
               numbers; it need only have the capacity to “ ‘store numbers
               to be called’ ” and “ ‘to dial such numbers automatically.’ ”
               926 F. 3d 1146, 1151 (2019) (quoting Marks v. Crunch San
               Diego, LLC, 904 F. 3d 1041, 1053 (CA9 2018)).
                  We granted certiorari to resolve a conflict among the
               Courts of Appeals regarding whether an autodialer must
               have the capacity to generate random or sequential phone
               numbers.4 591 U. S. ___ (2020). We now reverse the Ninth
               Circuit’s judgment.
                                              II
                   Section 227(a)(1) defines an autodialer as:
                     “equipment which has the capacity—
               ——————
                 4 Compare 926 F. 3d 1146, 1151–1152 (CA9 2019); Duran v. La Boom

               Disco, Inc., 955 F. 3d 279, 290 (CA2 2020); and Allan v. Pennsylvania
               Higher Educ. Assistance Agency, 968 F. 3d 567, 579–580 (CA6 2020),
               with Gadelhak v. AT&T Servs., Inc., 950 F. 3d 458, 468 (CA7 2020) (Bar-
               rett, J., for the court); Glasser v. Hilton Grand Vacations Co., 948 F. 3d
               1301, 1306–1307 (CA11 2020); and Dominguez v. Yahoo, Inc., 894 F. 3d
               116, 119 (CA3 2018).
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                                     Opinion of the Court

                     “(A) to store or produce telephone numbers to be
                   called, using a random or sequential number genera-
                   tor; and
                     “(B) to dial such numbers.”
               Facebook argues the clause “using a random or sequential
               number generator” modifies both verbs that precede it
               (“store” and “produce”), while Duguid contends it modifies
               only the closest one (“produce”). We conclude that the
               clause modifies both, specifying how the equipment must
               either “store” or “produce” telephone numbers. Because
               Facebook’s notification system neither stores nor produces
               numbers “using a random or sequential number generator,”
               it is not an autodialer.
                                              A
                  We begin with the text. Congress defined an autodialer
               in terms of what it must do (“store or produce telephone
               numbers to be called”) and how it must do it (“using a ran-
               dom or sequential number generator”). The definition uses
               a familiar structure: a list of verbs followed by a modifying
               clause. Under conventional rules of grammar, “[w]hen
               there is a straightforward, parallel construction that in-
               volves all nouns or verbs in a series,” a modifier at the end
               of the list “normally applies to the entire series.” A. Scalia
               & B. Garner, Reading Law: The Interpretation of Legal
               Texts 147 (2012) (Scalia & Garner) (quotation modified).
               The Court often applies this interpretative rule, usually re-
               ferred to as the “series-qualifier canon.” See Paroline v.
               United States, 572 U. S. 434, 447 (2014) (citing Porto Rico
               Railway, Light & Power Co. v. Mor, 253 U. S. 345, 348
               (1920)); see also United States v. Bass, 404 U. S. 336, 339–
               340 (1971). This canon generally reflects the most natural
               reading of a sentence. Imagine if a teacher announced that
               “students must not complete or check any homework to be
               turned in for a grade, using online homework-help web-
               sites.” It would be strange to read that rule as prohibiting
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               6                FACEBOOK, INC. v. DUGUID

                                     Opinion of the Court

               students from completing homework altogether, with or
               without online support.
                  Here, the series-qualifier canon recommends qualifying
               both antecedent verbs, “store” and “produce,” with the
               phrase “using a random or sequential number generator.”
               That recommendation produces the most natural construc-
               tion, as confirmed by other aspects of §227(a)(1)(A)’s text.
                  To begin, the modifier at issue immediately follows a con-
               cise, integrated clause: “store or produce telephone num-
               bers to be called.” See Cyan, Inc. v. Beaver County Employ-
               ees Retirement Fund, 583 U. S. ___, ___–___ (2018) (slip op.,
               at 21–22). The clause “hangs together as a unified whole,”
               id., at ___ (slip op., at 21), using the word “or” to connect
               two verbs that share a common direct object, “telephone
               numbers to be called.” It would be odd to apply the modifier
               (“using a random or sequential number generator”) to only
               a portion of this cohesive preceding clause.
                  This interpretation of §227(a)(1)(A) also “heed[s] the com-
               mands of its punctuation.” United States Nat. Bank of Ore.
               v. Independent Ins. Agents of America, Inc., 508 U. S. 439,
               454 (1993). Recall that the phrase “using a random or se-
               quential number generator” follows a comma placed after
               the phrase “store or produce telephone numbers to be
               called.” As several leading treatises explain, “ ‘[a] qualify-
               ing phrase separated from antecedents by a comma is evi-
               dence that the qualifier is supposed to apply to all the ante-
               cedents instead of only to the immediately preceding one.’ ”
               W. Eskridge, Interpreting Law: A Primer on How To Read
               Statutes and the Constitution 67–68 (2016); see also 2A N.
               Singer & S. Singer, Sutherland Statutes and Statutory
               Construction §47:33, pp. 499–500 (rev. 7th ed. 2014); Scalia
               & Garner 161–162. The comma in §227(a)(1)(A) thus fur-
               ther suggests that Congress intended the phrase “using a
               random or sequential number generator” to apply equally
               to both preceding elements.
                  Contrary to Duguid’s view, this interpretation does not
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               conflict with the so-called “rule of the last antecedent.” Un-
               der that rule, “a limiting clause or phrase . . . should ordi-
               narily be read as modifying only the noun or phrase that it
               immediately follows.” Barnhart v. Thomas, 540 U. S. 20, 26
               (2003); see also Lockhart v. United States, 577 U. S. 347,
               351 (2016). The rule of the last antecedent is context de-
               pendent. This Court has declined to apply the rule where,
               like here, the modifying clause appears after an integrated
               list. See Jama v. Immigration and Customs Enforcement,
               543 U. S. 335, 344, n. 4 (2005) (collecting cases). Moreover,
               even if the rule of the last antecedent were relevant here, it
               would provide no help to Duguid. The last antecedent be-
               fore “using a random or sequential number generator” is not
               “produce,” as Duguid needs it to be, but rather “telephone
               numbers to be called.” There is “no grammatical basis,”
               Cyan, 583 U. S., at ___ (slip op., at 22), for arbitrarily
               stretching the modifier back to include “produce,” but not
               so far back as to include “store.”
                  In sum, Congress’ definition of an autodialer requires
               that in all cases, whether storing or producing numbers to
               be called, the equipment in question must use a random or
               sequential number generator. This definition excludes
               equipment like Facebook’s login notification system, which
               does not use such technology.5

               ——————
                 5 JUSTICE ALITO notes that he “agree[s] with much of the Court’s anal-

               ysis,” as well as its ultimate conclusion about the interpretive question
               before us, yet he concurs in the judgment only. Post, at 1. His apprehen-
               sion appears to stem from what he sees as the Court’s “heavy reliance”
               on the series-qualifier canon. Ibid. Such canons, he argues, are “not
               inflexible rules.” Post, at 4. On that point, we agree: Linguistic canons
               are tools of statutory interpretation whose usefulness depends on the
               particular statutory text and context at issue. That may be all JUSTICE
               ALITO seeks to prove with his discussion and list of “sentences that
               clearly go against the canon,” post, at 3. (That the grammatical structure
               of every example he provides is materially dissimilar from that of the
               clause at issue in this case proves the point.) But to the extent that he
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                                             B
                  The statutory context confirms that the autodialer defi-
               nition excludes equipment that does not “us[e] a random or
               sequential number generator.” 47 U. S. C. §227(a)(1)(A).
               Consider the TCPA’s restrictions on the use of autodialers.
               As previously noted, §227(b)(1) makes it unlawful to use an
               autodialer to call certain “emergency telephone line[s]” and
               lines “for which the called party is charged for the call.”
               §227(b)(1)(A). It also makes it unlawful to use an autodialer
               “in such a way that two or more telephone lines of a multi-
               line business are engaged simultaneously.” §227(b)(1)(D).
               These prohibitions target a unique type of telemarketing
               equipment that risks dialing emergency lines randomly or
               tying up all the sequentially numbered lines at a single en-
               tity.
                  Expanding the definition of an autodialer to encompass
               any equipment that merely stores and dials telephone num-
               bers would take a chainsaw to these nuanced problems
               when Congress meant to use a scalpel. Duguid’s interpre-
               tation of an autodialer would capture virtually all modern
               cell phones, which have the capacity to “store . . . telephone
               numbers to be called” and “dial such numbers.” §227(a)(1).
               The TCPA’s liability provisions, then, could affect ordinary
               cell phone owners in the course of commonplace usage, such
               as speed dialing or sending automated text message re-
               sponses. See §227(b)(3) (authorizing a $500 fine per viola-
               tion, increased to $1,500 if the sender acted “willfully” or

               ——————
               suggests that such canons have no role to play in statutory interpreta-
               tion, or that resolving difficult interpretive questions is a simple matter
               of applying the “common understanding” of those “familiar with the Eng-
               lish language,” post, at 2–3, we disagree. Difficult ambiguities in statu-
               tory text will inevitably arise, despite the best efforts of legislators writ-
               ing in “English prose,” post, at 4. Courts should approach these
               interpretive problems methodically, using traditional tools of statutory
               interpretation, in order to confirm their assumptions about the “common
               understanding” of words.
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               “knowingly”).6
                                              III
                  Duguid’s counterarguments cannot overcome the clear
               commands of §227(a)(1)(A)’s text and the statutory context.
               The crux of Duguid’s argument is that the autodialer defi-
               nition calls for a construction that accords with the “sense”
               of the text. Brief for Respondents 11, and n. 3. It makes
               the most “sense,” Duguid insists, to apply the phrase “using
               a random or sequential number generator” to modify only
               “produce,” which, unlike the verb “store,” is closely con-
               nected to the noun “generator.” Dictionary definitions of
               “generator,” for instance, regularly include the word “pro-
               duce,” which carries a very different meaning than “store.”
               Duguid also claims that, at the time of the TCPA’s enact-
               ment, the technical meaning of a “random number genera-
               tor” invoked ways of producing numbers, not means of stor-
               ing them.
                  Perhaps Duguid’s interpretive approach would have
               some appeal if applying the traditional tools of interpreta-
               tion led to a “linguistically impossible” or contextually im-
               plausible outcome. Encino Motorcars, LLC v. Navarro, 584
               U. S. ___, ___ (2018) (slip op., at 8); see also Advocate Health
               Care Network v. Stapleton, 581 U. S. ___, ___ (2017) (slip
               op., at 11) (noting that a “sense of inconceivability” might
               “urg[e] readers to discard usual rules of interpreting text”).
               Duguid makes a valiant effort to prove as much, but ulti-

               ——————
                  6 Duguid contends that ordinary cell phones are not autodialers under

               his interpretation because they cannot dial phone numbers automati-
               cally and instead rely on human intervention. But all devices require
               some human intervention, whether it takes the form of programming a
               cell phone to respond automatically to texts received while in “do not dis-
               turb” mode or commanding a computer program to produce and dial
               phone numbers at random. We decline to interpret the TCPA as requir-
               ing such a difficult line-drawing exercise around how much automation
               is too much.
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               mately comes up short. It is true that, as a matter of ordi-
               nary parlance, it is odd to say that a piece of equipment
               “stores” numbers using a random number “generator.” But
               it is less odd as a technical matter. Indeed, as early as 1988,
               the U. S. Patent and Trademark Office issued patents for
               devices that used a random number generator to store num-
               bers to be called later (as opposed to using a number gener-
               ator for immediate dialing).7 Brief for Professional Associ-
               ation for Customer Engagement et al. as Amici Curiae 15–
               21. At any rate, Duguid’s interpretation is contrary to the
               ordinary reading of the text and, by classifying almost all
               modern cell phones as autodialers, would produce an out-
               come that makes even less sense.
                  Duguid’s reliance on the distributive canon fails for simi-
               lar reasons. That canon provides that “[w]here a sentence
               contains several antecedents and several consequents,”
               courts should “read them distributively and apply the
               words to the subjects which, by context, they seem most
               properly to relate.” 2A Singer, Sutherland Statutes and
               Statutory Construction §47:26, at 448. Set aside for a mo-
               ment that the canon’s relevance is highly questionable
               given there are two antecedents (store and produce) but
               only one consequent modifier (using a random or sequential

               ——————
                 7 Duguid argues that such a device would necessarily “produce” num-

               bers using the same generator technology, meaning “store or” in
               §227(a)(1)(A) is superfluous. “It is no superfluity,” however, for Congress
               to include both functions in the autodialer definition so as to clarify the
               domain of prohibited devices. BFP v. Resolution Trust Corporation, 511
               U. S. 531, 544, n. 7 (1994). For instance, an autodialer might use a ran-
               dom number generator to determine the order in which to pick phone
               numbers from a preproduced list. It would then store those numbers to
               be dialed at a later time. See Brief for Professional Association for Cus-
               tomer Engagement et al. as Amici Curiae 19. In any event, even if the
               storing and producing functions often merge, Congress may have “em-
               ployed a belt and suspenders approach” in writing the statute. Atlantic
               Richfield Co. v. Christian, 590 U. S. ___, ___, n. 5 (2020) (slip op., at 10,
               n. 5).
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               number generator). See Encino Motorcars, 584 U. S., at ___
               (slip op., at 8) (“[T]he distributive canon has the most force
               when the statute allows for one-to-one matching”). As just
               explained, the consequent “using a random or sequential
               number generator” properly relates to both antecedents.
                  Duguid next turns to legislative purpose, but he merely
               gestures at Congress’ “broad privacy-protection goals.”
               Brief for Respondents 28 (emphasizing that Congress pro-
               hibited calls made using an autodialer without “ ‘prior ex-
               press consent of the called party’ ” (quoting 47 U. S. C.
               §227(b)(1)(A))). That Congress was broadly concerned
               about intrusive telemarketing practices, however, does not
               mean it adopted a broad autodialer definition. Congress ex-
               pressly found that the use of random or sequential number
               generator technology caused unique problems for business,
               emergency, and cellular lines. See supra, at 2. Unsurpris-
               ingly, then, the autodialer definition Congress employed in-
               cludes only devices that use such technology, and the auto-
               dialer prohibitions target calls made to such lines. See
               §227(b)(1)(A).8 The narrow statutory design, therefore,
               does not support Duguid’s broad interpretation.
                  Duguid last warns that accepting Facebook’s interpreta-
               tion will “unleash” a “torrent of robocalls.” Brief for Re-
               spondents 38 (quotation modified). As Duguid sees it, the
               thrust of congressional action since the TCPA’s enactment
               has been to restrict nuisance calls. Because technology
               “adapt[s] to change,” Duguid argues, the TCPA must be
               treated as an “ ‘agile tool.’ ” Id., at 38, 41. To this end,
               Duguid asks this Court to focus not on whether a device has
               the “senescent technology,” id., at 41, of random or sequen-
               tial number generation but instead on whether it has the
               “capacity to dial numbers without human intervention,” id.,
               ——————
                  8 By contrast, Congress did impose broader prohibitions elsewhere in

               the TCPA. See, e.g., 47 U. S. C. §§227(b)(1)(A) and (B) (prohibiting “ar-
               tificial or prerecorded voice” calls, irrespective of the type of technology
               used).
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               at 39 (internal quotation marks omitted).
                 To begin with, Duguid greatly overstates the effects of ac-
               cepting Facebook’s interpretation. The statute separately
               prohibits calls using “an artificial or prerecorded voice” to
               various types of phone lines, including home phones and
               cell phones, unless an exception applies. See 47 U. S. C.
               §§227(b)(1)(A) and (B). Our decision does not affect that
               prohibition. In any event, Duguid’s quarrel is with Con-
               gress, which did not define an autodialer as malleably as he
               would have liked. “Senescent” as a number generator (and
               perhaps the TCPA itself ) may be, that is no justification for
               eschewing the best reading of §227(a)(1)(A). This Court
               must interpret what Congress wrote, which is that “using a
               random or sequential number generator” modifies both
               “store” and “produce.”
                                       *     *     *
                 We hold that a necessary feature of an autodialer under
               §227(a)(1)(A) is the capacity to use a random or sequential
               number generator to either store or produce phone numbers
               to be called. The judgment of the Court of Appeals is re-
               versed, and the case is remanded for further proceedings
               consistent with this opinion.
                                                           It is so ordered.
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                               ALITO,AJ.,   , J., concurring
                                          concurring
                                       LITO           in judgment

               SUPREME COURT OF THE UNITED STATES
                                         _________________

                                          No. 19–511
                                         _________________


                          FACEBOOK, INC., PETITIONER v.
                              NOAH DUGUID, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE NINTH CIRCUIT
                                        [April 1, 2021]

                   JUSTICE ALITO, concurring in the judgment.
                   I agree with the Court that an “automatic telephone dial-
               ing system,” as defined in the Telephone Consumer Protec-
               tion Act of 1991, must have the capacity to “store . . . tele-
               phone numbers” by “using a random or sequential number
               generator.” 47 U. S. C. §227(a)(1)(A). I also agree with
               much of the Court’s analysis and the analysis in several
               Court of Appeals decisions on this question. See Gadelhak
               v. AT&T Servs., Inc., 950 F. 3d 458, 463–468 (CA7 2020);
               Glasser v. Hilton Grand Vacations Co., 948 F. 3d 1301,
               1306–1312 (CA11 2020).
                   I write separately to address the Court’s heavy reliance
               on one of the canons of interpretation that have come to
               play a prominent role in our statutory interpretation cases.
               Cataloged in a treatise written by our former colleague An-
               tonin Scalia and Bryan A. Garner, counsel for respondents
               in this case, these canons are useful tools, but it is im-
               portant to keep their limitations in mind. This may be es-
               pecially true with respect to the particular canon at issue
               here, the “series-qualifier” canon.
                   According to the majority’s recitation of this canon,
               “ ‘[w]hen there is a straightforward, parallel construction
               that involves all nouns or verbs in a series,’ a modifier at
               the end of the list ‘normally applies to the entire series.’ ”
               Ante, at 5 (quoting A. Scalia & B. Garner, Reading Law: The
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               Interpretation of Legal Texts 147 (2012) (Reading Law)).*
                  The Court refers to this canon as a “rul[e] of grammar.”
               Ante, at 5. Yet the Scalia-Garner treatise makes it clear
               that interpretive canons “are not ‘rules’ of interpretation in
               any strict sense but presumptions about what an intelli-
               gently produced text conveys.” Reading Law 51. (Even
               grammar, according to Mr. Garner, is ordinarily just “an at-
               tempt to describe the English language as it is actually
               used.” B. Garner, The Chicago Guide to Grammar, Usage,
               and Punctuation 1 (2016)). And Reading Law goes out of
               its way to emphasize the limitations of the series-qualifier
               canon, warning:
                    “Perhaps more than most of the other canons, [the
                    series-qualifier canon] is highly sensitive to context.
                    Often the sense of the matter prevails: He went forth
                    and wept bitterly does not suggest that he went forth
                    bitterly.” Reading Law 150.
                  The italicized sentence—an English translation of a sen-
               tence in the New Testament, Matthew 26:75—is not only
               grammatical; it is perfectly clear. No one familiar with the
               English language would fail to understand it—even though
               its meaning is contrary to the one suggested by the series-
               qualifier canon.
                  The Court writes that the series-qualifier canon “gener-
               ally reflects the most natural reading of a sentence,” ante,
               at 5, and maybe that is so. But cf. Lockhart v. United States,
               577 U. S. 347, 351 (2016) (relying on “the basic intuition
               that when a modifier appears at the end of a list, it is easier
               to apply that modifier only to the item directly before it”).
               ——————
                  *As set out in Reading Law 147, this canon also applies when the mod-
               ifier precedes the series of verbs or nouns.
                  Some scholars have claimed that “nobody proposed [the series-quali-
               fier] canon until Justice Scalia pioneered it” in Reading Law. Baude &
               Sachs, The Law of Interpretation, 130 Harv. L. Rev. 1079, 1125 (2017)
               (internal quotation marks omitted; emphasis deleted).
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               But it is very easy to think of sentences that clearly go
               against the canon:
                   “At the Super Bowl party, she ate, drank, and cheered
                   raucously.”
                   “On Saturday, he relaxes and exercises vigorously.”
                   “When his owner comes home, the dog wags his tail and
                   barks loudly.”
                   “It is illegal to hunt rhinos and giraffes with necks
                   longer than three feet.”
                   “She likes to swim and run wearing track spikes.”
                  In support of its treatment of the series-qualifier canon,
               the Court offers this example of a sentence in which the
               natural reading corresponds with the interpretation sug-
               gested by the canon: “[S]tudents must not complete or check
               any homework to be turned in for a grade, using online
               homework-help websites.” Ante, at 5. I certainly agree that
               the adverbial phrase in this sentence (“using online home-
               work-help websites”) modifies both of the verbs it follows
               (“complete” and “check”) and not just the latter. But that
               understanding has little to do with syntax and everything
               to do with our common understanding that teachers do not
               want to prohibit students from doing homework. We can
               see this point clearly if we retain the same syntax but re-
               place the verb “complete” with any number of other verbs
               that describe something a teacher is not likely to want stu-
               dents to do, say, “ignore,” “overlook,” “discard,” “lose,” “ne-
               glect,” “forget,” “destroy,” “throw away,” or “incinerate”
               their homework. The concept of “using online homework-
               help websites” to do any of those things would be nonsensi-
               cal, and no reader would interpret the sentence to have that
               meaning—even though that is what the series-qualifier
               canon suggests.
                  The strength and validity of an interpretive canon is an
               empirical question, and perhaps someday it will be possible
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               to evaluate these canons by conducting what is called a cor-
               pus linguistics analysis, that is, an analysis of how particu-
               lar combinations of words are used in a vast database of
               English prose. See generally Lee & Mouritsen, Judging Or-
               dinary Meaning, 127 Yale L. J. 788 (2018). If the series-
               qualifier canon were analyzed in this way, I suspect we
               would find that series qualifiers sometimes modify all the
               nouns or verbs in a list and sometimes modify just the last
               noun or verb. It would be interesting to see if the percent-
               age of sentences in the first category is high enough to jus-
               tify the canon. But no matter how the sentences with the
               relevant structure broke down, it would be surprising if “the
               sense of the matter” did not readily reveal the meaning in
               the great majority of cases. Reading Law 150.
                  That is just my guess. Empirical evidence might prove
               me wrong, but that is not what matters. The important
               point is that interpretive canons attempt to identify the way
               in which “a reasonable reader, fully competent in the lan-
               guage, would have understood the text at the time it was
               issued.” Id., at 33. To the extent that interpretive canons
               accurately describe how the English language is generally
               used, they are useful tools. But they are not inflexible rules.
                  Appellate judges spend virtually every working hour
               speaking, listening to, reading, or writing English prose.
               Statutes are written in English prose, and interpretation is
               not a technical exercise to be carried out by mechanically
               applying a set of arcane rules. Canons of interpretation can
               help in figuring out the meaning of troublesome statutory
               language, but if they are treated like rigid rules, they can
               lead us astray. When this Court describes canons as rules
               or quotes canons while omitting their caveats and limita-
               tions, we only encourage the lower courts to relegate statu-
               tory interpretation to a series of if-then computations. No
               reasonable reader interprets texts that way.
                  For these reasons, I respectfully concur in the judgment.
